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 6                                   UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8                                                    ***
                                                      )
 9   UNITED STATES OF AMERICA,                        )
                                                      )
10                      Plaintiff,                    )        3:08-CR-0006-LRH-WGC
                                                      )
11   v.                                               )
                                                      )        ORDER
12   JENNIFER LYNN FRENCH                             )
                                                      )
13                      Defendant.                    )
                                                      )
14

15          The court having granted bail on appeal to defendant Jennifer French at the time of her

16   sentencing hearing on March 26, 2012, and a notice of appeal having been timely filed on April 12,

17   2012 (doc. #361), and good cause appearing,

18          IT IS HEREBY ORDERED that the court’s order authorizing self-surrender of defendant

19   Jennifer French to the Bureau of Prisons on June 1, 2012, is hereby VACATED. Defendant French

20   is admitted to bail pending appeal in this matter and shall be subject to all immediate past

21   conditions of pre-trial release which have been applicable to her through the current time. In the

22   event her appeal is unsuccessful, in whole or in part, she shall self-surrender to the United States

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 1   Marshal’s Office in Reno, Nevada within thirty (30) days of the filing of this court’s order on

 2   mandate following decision by the Ninth Circuit Court of Appeals.

 3

 4          IT IS SO ORDERED.

 5          DATED this 21st day of May, 2012.

 6
                                                      __________________________________
 7                                                    LARRY R. HICKS
                                                      UNITED STATES DISTRICT JUDGE
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